         Case 8:22-cr-00209-PJM Document 49 Filed 04/29/24 Page 1 of 2



                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MARYLAND
                            SOUTHERN DIVISION

 UNITED STATES OF AMERICA                    *

 v.                                          *        Crim. No.: PJM-22-0209


 NICHOLAS ROSKE                              *

              *      *      *     *      *       *    *      *         *    *

                                  STATUS REPORT

       Undersigned counsel writes to provide the Court with an update on the status

 of Nicholas Roske’s case. The defense’s mitigation investigation is complete; and the

 parties have engaged in substantive plea negotiations.

       Counsel for Mr. Roske is in trial in United States v. Dennis Hairston, BAH-22-

 140, from May 13, 2024, through June 7, 2024. To permit these discussions to continue

 and to account for counsel’s unavailability during trial, the parties request they be

 permitted to provide a further status report on or before June 29, 2024.

       The defense consents to tolling the speedy trial clock and excluding this period

 of delay pursuant to 18 U.S.C. § 3161(h)(7)(A) as the ends of justice are served by

 permitting the parties a delay in light of the ongoing discussions.

      WHEREFORE, Mr. Roske, without objection from the government, requests that

the parties be permitted to file a further status update on or after June 29, 2024.




                                             1
Case 8:22-cr-00209-PJM Document 49 Filed 04/29/24 Page 2 of 2




                           Respectfully submitted,

                           JAMES WYDA
                           Federal Public Defender
                             for the District of Maryland

                           /s/

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                                 2
